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                                   STATEMENT OF FACTS

        Your affiant, Jennifer Faumuina, is a Task Force Officer assigned to the Federal Bureau of
Investigation Salt Lake City Division. In my duties as a special agent, I am a member of the Joint
Terrorism Task Force, assigned specifically for the past five years to investigating acts of domestic
terrorism. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a federal agent, I am authorized by law or by a government agency
to engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                    Adams’s Involvement in the Events of January 6, 2021

        After the riot on January 6, 2021, law enforcement reviewed body-worn camera (BWC)
footage from numerous officers of the District of Columbia Metropolitan Police Department
(MPD). According to BWC footage of MPD officers, an initially unidentified individual, later
identified as Justin Dee ADAMS (“ADAMS”), was observed assaulting law enforcement officers
on the Upper West Plaza of the Capitol on January 6, 2021. The BWC depicted ADAMS
assaulting police officers and removing a bicycle rack that was being used by the police to control
the mob.

         In the BWC video, ADAMS is the individual wearing a black leather jacket with white
stripes, camouflage pants, and a baseball hat. ADAMS can be seen in the front of a group of rioters
advancing toward police officers who were attempting to form a police line to prevent rioters from
advancing further into the restricted area of the Capitol. ADAMS raised his hands above his head
and walked toward the officers until he made physical contact with a police officer and was
subsequently pushed back several feet.




                                     MPD Body Worn Camera Video
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                            MPD Body Work Camera Video

ADAMS then charged at the police line, physically attacking one or more police officers.




                            MPD Body Worn Camera Video
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                                   MPD Body Worn Camera Video




                                   MPD Body Worn Camera Video

        After police officers pushed ADAMS back again, he continued to yell and gesture at
police officers aggressively, while other rioters attempted to hold him back.
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                                    MPD Body Worn Camera Video




                                    MPD Body Worn Camera Video



             Adams Removes a Bike Rack Being Used as a Barricade by Police

        Several minutes later, BWC videos depict ADAMS removing a metal bicycle rack that
police officers were using to prevent rioters from advancing further into the restricted areas of
the Capitol. The video shows ADAMS grabbing the bike rack and refusing to let go. The video
shows ADAMS throwing a plastic bottle at a police officer who attempted to prevent him from
removing the bike rack. The video shows that ADAMS succeeded in pulling the bike rack away
from the police with another rioter and dragging it into the crowd.
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                     MPD Body Worn Camera Video




                     MPD Body Worn Camera Video
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                                     MPD Body Worn Camera Video



                 Identification of Adams as the Individual in the BWC Video

         The identity of the individual in the BWC videos, later determined to be ADAMS, was
initially unknown. Images from the BWC video were included in an FBI Seeking Information
poster as BOLO AFO-374, which was disseminated by the Office of Public Affairs on June 2,
2021. On November 3, 2021, an FBI Confidential Human Source (CHS) identified BOLO AFO-
374 as Justin Dee ADAMS. The CHS identified ADAMS as the owner of a business called JD
Guns and Gear located in West Jordan, Utah.

        The CHS identified a social media account on Parler with username @JDGNG and vanity
name “JD Guns and Gear” that appeared to belong to ADAMS (the “Parler Account”). Law
enforcement subsequently obtained subscriber information for the Parler Account and learned that
the email address and telephone number associated with the account were associated with ADAMS
in publicly available data bases and in records provided by Verizon in response to a subpoena.

       On the Parler Account, the CHS found several public posts that included photographs and
text apparently posted by ADAMS shortly before he traveled from Utah to Washington DC in
January 2021. The photos below, which were posted to the Parler Account, show three individuals,
one of whom appears to be the same individual in BOLO AFO-374. The text accompanying the
photos indicates that the three individuals were “starting the road trip for. . . Washington DC” and
were “driving to DC to smack a couple of politicians around.”
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                                     Parler account @JDGNG




                                      Parler account @JDGNG



      An additional post on the Parler Account that was provided by the CHS appears to have
been written after the events on January 6. That post stated in part, “We safely made it out of
Washington DC before the lockdown … Got a little roughed up. . .”
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                                        Parler account @JDGNG



        Records provided by the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
identified a company called JD Guns and Gear, which is the vanity name for the Parler Account.
According to the ATF records, the company is owned by ADAMS and uses the same phone
number and email address that is associated with ADAMS.

        According to open-source research, the company called JD Guns and Gear maintains a
public website at www.jdgunsandgear.com. Numerous photographs are posted on the website that
depict an individual resembling BOLO AFO-374, who was subsequently identified as ADAMS.
In several of these photos, the individual appears to be wearing a baseball hat that matches the hat
worn by the individual in BOLO AFO-374.




                                       JD Guns and Gear website
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                                       JD Guns and Gear website

        Additionally, a witness who lives in Utah in the same general area as ADAMS and has
known ADAMS for approximately five years was shown several photographs of ADAMS,
including BOLO AFO-374 and screen shots from the MPD BWC footage. This witness
positively identified ADAMS as the individual in the photographs.

                                 Federal Violations Committed

         Based on the foregoing, your affiant submits that there is probable cause to believe that
ADAMS violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Additionally, there is probable cause to believe that ADAMS violated 18 U.S.C. §
111(a)(1), which makes it a crime for anyone to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any United States law enforcement officer while that officer is engaged in the
performance of their official duties.

       Finally, your affiant submits there is probable cause to believe that ADAMS violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
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in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.



                                                     _________________________________
                                                     Jennifer Faumuina
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 7th day of October 2022.
                                                                          2022.10.07
                                                                          16:56:05 -04'00'
                                                    ___________________________________
                                                    HONORABLE JUDGE ZIA M. FARUQUI
                                                    UNITED STATES MAGISTRATE JUDGE
